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UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF CONNECTICUT

JANEL GRANT,

Plaintiff, Civil Action No. 3:24-cv-00090-JAM

Vv.

WORLD WRESTLING ENTERTAINMENT, INC.,
a/k/a WORLD WRESTLING ENTERTAINMENT,
LLC; VINCENT K. MCMAHON; and JOHN
LAURINAITIS,

Defendants.

DECLARATION OF DEFENDANT JOHN LAURINAITIS

I, John Laurinaitis, declare under penalty of perjury pursuant to 28 U.S.C. § 1746, as
follows:

1. Atall times material to the allegations set forth in the Complaint, I was an employee
of World Wrestling Entertainment, Inc.

Zs As a full-time employee of WWE, it is my understanding that I was listed as a
released party from any and all lawsuits or causes of action by Plaintiff Grant. See Confidential
Settlement Agreement, General Release and Covenant Not to Sue (Dkt. 30-2, dated April 23,
2024).

3. Pursuant to the terms of the Confidential Settlement Agreement, General Release
and Covenant Not to Sue (Dkt. 30-2) it is my understanding that the sole and exclusive legal

method to resolve any disputes related to the Confidential Settlement Agreement, would be in

binding arbitration under the Federal Arbitration Act.
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I declare under penalty of pesjury that the foregoing is true and correct.
Executed on June 2024

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